Case 9:10-cv-80737-DTKH Document 185-1 Entered on FLSD Docket 03/14/2013 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN I)ISTRICT OF FLORIDA

                             Case No. lO-CV-80737-HURLEY/HOPKINS
         (Consolidated with Case No. lO-CV-80738-HURLEY/HOPKINS for the Receivership)


    UNITED STATES SECURITIES AND
    EXCHANGE COMMISSION,
    Plaintiff,
    v.
    TRADE-LLC, et aI.,
    Defendants,
    v.
    BD LLC, et aI.,
    Relief Defendants.
    ----------------------------~/
    COMMODITY FUTURES TRADING
    COMMISSION,

    Plaintiff,

            v.

    TRADE-LLC, et aI.,

    Defendants,

    BD LLC, et aI.,

    Relief Defendants.
    --------------------------~/
            ORDER GRANTING RECEIVER'S UNOPPOSED MOTION TO MODIFY
             CLAIM AMOUNT OF FEDERAL COURT RECEIVER FOR CLAIMANT
            CASH FLOW FINANCIAL AND RETURN AGREED AMOUNT OF FUNDS

            THIS CAUSE is before the Court upon the Receiver's Unopposed Motion to Modify

    Claim Amount of Federal Court Receiver for Claimant Cash Flow Financial, LLC ("CFF") and

                                              EXHIBIT

                                         I -----
Case 9:10-cv-80737-DTKH Document 185-1 Entered on FLSD Docket 03/14/2013 Page 2 of 2




    Return Agreed Amount of Funds [DE 185] (the "Motion"). Having carefully reviewed the

    Motion, it is hereby ORDERED AND ADJUDGED:

           The Motion [DE 185] is GRANTED.            CFF's prior approved net claim amount of

    $6,010,359.67, as reflected in the previously-filed Claiin Matrices [DE 136-1 and 173-1], is

    modified to reflect the return of $123,880.07 from CFF, as a claimant in the receivership, to the

    Receiver upon approval of such modified claim and deduction amount by the Honorable

    Lawrence P. Zatkoff. The Receiver is authorized to accept the return of $123,880.07 from the

    CFF Receiver, and the CFF Receiver shall pay this amount to the Receiver upon approval by the

    U.S. District Court for the Eastern District of Michigan, Southern Division, in the matter of

    Commodity Futures Trading Commission v. Alan James Watson, et al.} Case No.:ll-cv-l0949,

    for the release of such funds.

           DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

    Florida, on this _     day of _ _ _ _ _ _, 2013.




                                                DANIEL T.K. HURLEY
                                                UNITED STATES DISTRICT JUDGE
    Copies furnished to:

    Counsel of Record ,
